        Case 3:15-cr-01416-BAS                 Document 115                  Filed 12/09/15                                                   PageID.401          Page 1 of 2
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. '"
AO 245B (cASDRev. 08/13) Judgment in a Criminal Case


                                         UNITED STATES DISTRICT COURT
                                            SOUTHERN DISTRICT OF CALIFORNIA                                                                                    20i5 DEC -9 AH to: 37
              UNITED STATES OF AMERICA                                     JUDGMENTIN A CRIMINAIi,P(\S.E ....• ,
                                    V.                                     (For Offenses Committed On or After Noveinber I, '1987) .
               JOEL HOLGIN-NAVARETE (5)
                                                                                   Case Number:                                          15CRI416-BAS''!·             V\f..
                                                                          . NANCY ROSENFELD
                                                                            Defend~t's Attorney
REGISTRATION NO.                    50124298
 D -
 1Zl   pleaded guilty to count(s)         ONE (I) OF TIm SUPERSEDING INDICTMENT

 D was found guilty on count( s)
    after a plea of not guilty.   ..        . . . . . . . . • . .• ....... '. ..... ...... . .... ...
Accordingly, the defendant is adjudged guilty of suphcOunf(S),:Yi>hi9hij,yolvel\tefoI19wing .offense(s):
                                                                                                                                                                      Count
 J~t~s~ ~;~tion~~t;S~~gyn1dJ3RiNGij;f'CERfMN'ALmNS .                                                                                                                Numberfs)
                                                                                                                                                                       I .




                                                       ,      -.'   '/




     The defendant issel1tell~~d 'as prov;d~d in p~ges 2thro';go· . ~--,.",2::.·......"",,+-" ofthisjudgme,!t.
 The sentence is imposed pursuant to the.8entencin!!RefolmA.ctofI984:
 D The defendanthas been found not guilty on count(s)                          . ,-... >.-.",.. '
                                                                                 -' ,,-,   -,:.- ": '-', .""   '.   "',,   '       ,.-    "       ".   -   .
 1Zl   Count(s)UNDERLYINGA1\ID REMAINING                        .. ,are                    dismissed on the motion of the United States.

 1Zl   Assessment: $100.00



 1Zl No fine                0 ForfeiturepursuaIltt()ordet filed. . . ....... ....                      ... ,included herein.
        ITIS ORt>IlREDtlJ.~tthe,dCl~en.~a,nt&llanJl()tir;,th~P.ni~d.~tate~i\1:tol1l~y forthi~district within 30 days of any
 change of name, residence,         or
                                niailiiigaddniss uritifall [mes. restitUtion; '~osts; III'Id special assessments irllposed by this
 judgment are fully paid; If ordered~o,payre$.tit)\tion, t~e deferidantShall notify the court and United StatesAttomey of
 any material
      . '
              change in the defeIi"ditllt's~onoiDiq'.citeiun~titllces
                         - , ' , . - -,  -,' -,". -,  " '-." '-'- <. .' -". ,'.
                                                                                ... ··

                                                                                                  ,-     '.                    "              :   ';


                                                                     .... DECEMBER]. 2015


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                                                                          •...
                                                                                 IION.YN •... '..·...                                             S~T;
                                                                                 UNITED STATES DISTRICT JUDGE



                                                                                                                                                                    15CR1416-BAS
          Case 3:15-cr-01416-BAS                                       Document 115                                 Filed 12/09/15         PageID.402     Page 2 of 2
.'\ -~'
AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case

DEFENDANT:                     JOEL HOLGIN-NAVARETE (5)                                                                                                 Judgment - Page 2 of 2
CASE NUMBER:                   ISCR1416-BAS         . .


                                                 IMPRISONMENT
  The defendant is hereby committed to the custodyofthe United States Bureau of Prisons to be imprisoned for a term of:
  TWELVE (12) MONTHS AND ONE (1) DAY




   o      Sentence imposed pursuant to Title 8 USC Section I 326(b).
   o      The court makes the following recommendations to the Bureau ofP~isons:




   o      The defendant isretniUid¢dtptl1e,c~st(j4Yoftl1eUhitedStatesMats.hal.···

   o      The defendant shallstirrendertb theUI'litedStat6S!vfarshalforthl$dismct:'
          o at -'--_--,-_____'-'--.,-,.,..-- A.M.        on -.,-,.".,..--,____-.,-~"'---..,-..."..,,--------
          o as notified by the UnitedStatesrvliliish~(;')
                     .. ':-.     :_' ._:__ ', ', __ ._:,.'.,-: __ :,,-,_,---.   "---:':."'_.'_-',!":'. ., .';'   "f."",'   '.   -.,;'<."



          The defeIldiUit shall s\lrrehcler for servic~~f sehtetlh~ at the iIlstltutiondesignated by the Bureau of
    o     Prisons:                       '.             ..'             .               .
          o    on or before
          o as notified by the UnitedStatesMar~ruil ••
          o asnotifiedbytheProbatioIlorprettialS~&ip~~()ffi~e,.
                                                                                                          I{Ef~}""
   I have executed this judgment as follows:



    at
                                                                                           :.... -.~.-.




                                                                                                                            UNIIEP SlATES MARSHA.£;

                                                                                                      .' ."DEPUTY,UNllElpSTATESMAASHAL


                                                                                                                                                             ISCRI416-BAS
